Case 2 05 cr 20204 .]DB Document 40 Filed 07/19/05 Page 1 of 4 Page|D 66
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IN THE UN|TED STATES DISTRICT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
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’ To ALLow oisci.osuRE oF § §
_ SEALED TITLE lll MATER|ALS tN DISCOVERY § §§
,;.:; -n ,,j.._
=" Comes now the United States of Amen`ca, and hereby requests the Court to authorize § §
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the provision to defense counsel in United Slates v. Ward Crutchfeld and Charles Love, 05- §§
t~.i"“:
20204-8; United States v Chns Newton and Charles Love 05 20205 Ml United States v. Q§
\ §
John Ford, 05-20201 B Unrted States v. Roscoe Dixon and Barry Myers, 05-20202~M1; §§
3
and Uni'teo' States v Kathryn Bowers and Bany Myers 05-20203 M1 of copies of the
lol|owling:
1.
No. OS*WT»

Redacted portions of Title lll applications orders and affidavits in Mrscetlaneous

001(W D TN )and all orders applications and affdavits submitted requesting
extension or modification of that order
2.

Copies of audio and visual interceptions which were obtained as a result of said

orders to the extent that said interceptions are relevant as discovery material or other
material appropriately furnished to defense counsel

the government s request seating orders were issued to preserve the integnty of the

ongoing investigation The government is seeking the Court s permission to provide in

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discovery documents that were submitted to the Court to obtain said order and the fruits of
investigation as appropriately disclosed to the defense attorneys in the above-captioned
cases

The United States also requests that it be allowed to redact said applications orders
and afndavits, editing those matters that are not material to the current indictments, as the
afndavits, orders and applications contain information concerning lines of investigation that
are not yet completed and individuals who have not been charged in a criminal case. lfthis
information is disclosed to the general pubiic, those lines of investigation may be
compromised ln addition, the rights of individuals mentioned but not charged may be
prejudiced For these reasons, the government also requests that the disclosure be limited
to providing the discovery to defense counsel and their clients, and that the documents made
available to the attorneys for the defendants be subject to a protective order limiting the
dissemination of this information.

Respectfu|iy submitted,

TERRELL L. HARR|S
UN!TED STATES ATTORNEY

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Case 2:05-cr-20204-.]DB Document 40 Filed 07/19/05 Page 3 of 4 Page|D 68

CERT|F|CATE OF SERV|CE

l, TIMOTHY R. DlSCENZA, Assistant United States Attorney forthe Westem District

of Tennessee, hereby certify that a copy of the foregoing Motion and the proposed order were

mailed, first class postage prepaid, to the following:

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/
This 5 day of June, 2005.

By:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

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